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DECLARATION OF WILLIAM M. KATZ
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CONNECTICUT BANK OF COMMERCE, §

Plaintiff, §

Vv. §

THE REPUBLIC OF CONGO §
Defendant, § CIVIL ACTION No. 05-762 SLR

and §

§

CMS NOMECO CONGO INC., §

§

Garnishee. §

DECLARATION OF WILLIAM M. KATZ, JR. IN SUPPORT OF CMS NOMECO’S
MOTION FOR ORDER AWARDING ATTORNEY’S FEES AND OTHER COSTS

William M. Katz, Jr. declares the following:

lL. My name is William M. Katz, Jr. I am over the age of twenty-one years and am
competent to make this declaration. I have personal knowledge of the facts stated in this
declaration, and they are true and correct.

2. 1 obtained a J.D. degree from Georgetown University Law Center in 1994 and have been
licensed to practice law in the State of Texas since November 1994. I am also licensed to
practice law in the State of New York and the District of Columbia. Since November
1994, I have engaged in a commercial litigation practice with the law firm of Thompson
& Knight LLP (“T&K”). Currently I am a partner in the Trial Practice Group at T&K. |
have handled litigation matters involving foreign parties. I am also familiar with the work
required to defend an action like the one brought against CMS Nomeco. In addition to
this case, I am involved in the cases with Af-Cap, Inc. in the Western District of Texas
and the Fifth Circuit Court of Appeals, the FG Hemisphere cases in the Southern District
of Texas and the Fifth Circuit Court of Appeals, and the NUFI case in the Northern
District of Texas, all relating to the Congo.

3, T&K was hired by CMS Nomeco to serve as its counsel in this case. I have represented
CMS Nomeco in this case and have performed legal work on behalf of CMS Nomeco in
connection with this case. T&K has done a great deal of work in connection with this
case. We have investigated the facts surrounding the claims against CMS Nomeco. We
have done a significant amount of legal research. We have assisted in the preparation of
pleadings. We have also assisted with the discovery served on CMS Nomeco and against
the claimant.
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4. Andrew B, Derman and Ellie H. Hodges, partners of my firm, and Andrew Melsheimer,
an associate in our firm, have also provided services to CMS Nomeco in this action. Mr.
Derman received his J.D. degree from Temple University in 1978 and was admitted to the
Texas Bar in 1984. He is also licensed to practice law in the States of New York and
Pennsylvania. Mr. Derman is Board Certified in Oil, Gas and Mineral Law by the Texas
Board of Legal Specialization. Mr. Derman is the head of the International Energy
Practice Group at T&K. Mr. Melsheimer received his J.D. degree from Louisiana State
University in 2002 and was admitted to the Texas Bar in that same year. Mr. Melsheimer
is also licensed to practice law in the State of Louisiana. Mr. Melsheimer has worked in
our Trial Practice Group and currently works in our International Energy Practice Group.

5. Acting through our Management Committee, my law firm sets standard hourly rates for
each lawyer in the firm, and such rates are normally adjusted as of January 1 each year.
The standard hourly rates are set after a review by the Management Committee of client
reactions to the hourly rates during the preceding year, of available information about
rates charged by comparable law firms in the geographic markets in which my firm has
offices, and of other information, followed by consultation with the leaders of our firm’s
practice groups. For example, the firm’s Management Committee reviews written
analyses that are published by PricewaterhouseCoopers of hourly rates charged by groups
of law firms that are identified in the studies, although the specific rates charged by
specific law firms are not shown. Following its annual review of relevant information, the
Management Committee set the following standard hourly rates for Mr. Melsheimer, Mr.
Derman, and me for 2006 and 2007, and T&K charged CMS Nomeco (and other clients
of the firm) for our time at our standard hourly rates in each of those years:

® Andrew Melsheimer, $280 in 2006; $330 in 2007.
e William M. Katz, Jr., $450 in 2006; and $485 in 2007.
° Andrew B. Derman, $525 in 2006; and $565 in 2007.

6. I am familiar with the legal work performed in this action. I have reviewed the time
entries for attorneys who have worked on matters relating to this action, and I have
identified the time entries that relate to defending against the writs of garnishment issued
against CMS Nomeco, as well as the preparation of this fee application. Those time
entries are set out in Exhibit 1 to this Declaration. Exhibit 1 to this Declaration contains
only those time entries that include time spent in defending against this action. I have
removed time entries in which all of the time relates to proceedings in other Courts or not
pertaining to this specific action. The work of the T&K attorneys reflected on Exhibit 1
was necessary and proper in defending CMS Nomeco against the writs of garnishment
and in preparing this fee application. To date, the amount of attorney’s fees billed for the
work reflected on Exhibit 1 to this Declaration is $145,132.00.
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7. I am familiar with the customary and reasonable charges for services rendered by
attorneys for claims of the type that have been raised in a lawsuit of this complexity. In
my opinion, the billing rates for each attorney that worked on this matter at T&K were
reasonable for the work performed. The number of hours of work for the various tasks
involved was reasonable and necessary for the representation of the interests of CMS
Nomeco in this case considering that (1) the time and labor required was great, (2) the
novelty and difficulty of the questions presented in this case was high, (3) the skill
required to perform the legal services properly was high, due to the complex issues
presented, (4) the fees charged are customary in the relevant market for this level of
litigation, (5) the fee is based on a fixed hourly rate, (6) time limitations were often
imposed by the circumstances of the litigation, (7) the amount claimed was substantial,
and a positive result (dissolution of the writs of garnishment) was obtained, and (8) I have
experience in civil matters with similar complexity as this one. Considering all of these
factors, it is my opinion that the sum of $145,132.00 is a reasonable and necessary
attorney's fee for the work performed by T&K in the representation of the interests of
CMS Nomeco in contesting the writs of garnishment issued in this case.

8. I am also familiar with the expenses that have been incurred in this action. Attached as
Exhibit 2 to my Declaration is a summary of the expenses incurred in connection with the
defense of the writs against CMS Nomeco. These expenses total $7,607.32. In my
opinion, these expenses were reasonable and necessary in the defensive efforts relating to
the writs of garnishment issues in this action and the preparation of this fee application.

9, The fees and expenses described above do not include amounts relating to fees and
expenses that may be incurred in proceedings arising out of any opposition to the fee
application supported by this Declaration. I will supplement this Declaration with regard
to any additional work and expenses that are required in connection with such
opposition, including but not limited to discovery.

10. Attached as Exhibits 1 and 2 are spreadsheets itemizing the fees and expenses incurred by
CMS Nomeco in defending against this action. These exhibits were prepared utilizing the
information in T&K’s billing systems concerning fees and expenses charged or to be
charged to CMS Nomeco for this matter, which billing systems and records are kept in
the ordinary course of the firm’s business.

11. Exhibit 1 is a summary of time entries made by T&K attorneys who have worked on the
above-captioned and numbered case on behalf of CMS Nomeco, from 2006 to the
present. The entries relating to work performed by attorneys which are summarized in
Exhibit 1 hereto were prepared by the individual attorneys and were entered into T&K’s
computer system in the ordinary course of business at or near the time that the work was
performed. It is the regular practice of T&K attorneys to make such time entries and for
those entries to be promptly entered into the computer system. The time entries for the
work that I performed accurately reflect the work that I performed on this matter. The
entries for the other attorneys reflected on Exhibit 1 represent work that was actually
performed by those attorneys under the direction and supervision of other attorneys at
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T&K. Where a time entry made by me or another T&K attorney contained privileged
matter, that privileged matter has been redacted and a bracketed description of the
subject of the privileged matter has been inserted.

12. With regard to expenses, the entries for expenses that are summarized on Exhibit 2 were
entered into the T&K computer system either by persons with knowledge of the
expenditure or based on information supplied by a person with such knowledge, at or near
the time the expense was incurred. It is the regular practice of T&K to make such entries

13. With minor exceptions, CMS Nomeco has paid all of my firm’s invoices in full.

Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the foregoing is true and
correct.

Executed on March 23, 2007.

 

WILLIAM KATZ, JR.
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EXHIBIT 1
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Case 1:05-cv-00762-SLR Document 107-2 Filed 03/23/07 Page 12 of 21 PagelD #: 2720

yodxe jenuajod qIIM sutjeautl 10} eredoid ‘sTetioyeur ozATeue pue MOLADY

ued premio}
pue AZajens poiedoid ‘ssoujim yedxe uo pesnoo} ‘ssurpeojd yerp perlepisuog

s3urpeatd
MOAI Suoupedsq 93819 0] JepeT sIedeid ‘sonsst jiedxe BurpieSe1 spreu-q

Ssou}IM Lodxo ue se Jadneoy °q 9sn 0} UoIsstuiIed Sunsonboar jusmy1edaq
ajelg Oj Joye] aredoid ‘radneay *q pue ueumsog “y WOT spews MalAal pue azATeuy

ued premio} pue AZajR1]s poredaad ‘ssoujim jedxa uo posno0,f
ABayer}s 3}eUIPIOOD

ued piemMioy pue ABajeI]s U0 posnd0,f

ued premio} pue AZaqe11s paredaid ‘ssoujim Jlodxe uo pesns0,4
ued premioy pue A8ajeq\s poredalg

ueyd paemtoj pure
ABayerjs poredaid pue sossoujim Vledxe YIM payIOM ‘Ures8} TM syyZno0y} poreys

ued premio} pue A389} e1)s
peiedeid pue sossoujImM jiodxa YUM poytom ‘UIva} YIM s]yZnoy pesueyoxy

DUIS MOTAII ‘AIOAODSIP BUIPIeBol splewl-q
A1@a00SIp oredaig

ueyd piemioj pue AZoye]s
poredaid pue sassauyim yiedxa WIM paylomM ‘ulea] YIM sjysnoy] pedueyoxy

ueyd premio; pue AZo} e138
poiedeid pue sossoujIM Yodxo WIM peyIom ‘uIve] WIM s]yZnoyq] pesueyoxy

ued premioj pue AZaqeIys
poredaid pue sossauyiM Jredxa qyIM peyIOM ‘Ulea} qIIM s}[dnoy} pesueyoxy

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Azgaoostp oredoid pue ‘azAjeue ‘matael ‘suedxe Sulpiesai saousieyuoo pure syreui-q

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yuourjredeq 0721¢
0} Jaya] aredaid ‘sansst yrodxe pue uosodep Zurpriesai spreul-a pue seouarayu0

ules ZUIpIesol ZeY
"g UUM speurs ‘yey, “D 0} Jaye] puooss oredaid ‘uonesyT ul yodxo ue se saAo]dure
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MATAAI ‘YRT, “5 O} Jays] puooass Sulpresel weuLleg “y wo [eure MeLAaI pue ozAjeuy

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premio} pue Bayes poredoid ‘uopuoT ut xo.j “y jo uonviedeid om wi paysissy

wuopuoy 0} May ‘uetd premioy pue AZa}e138 paredaid ‘uontsodep xo, “-y 10} paredaig
ued premioy pue Aga} e1)s poredeid ‘uonisodap xoy “y 10} poredarg

ssulpeod pomotasy

uopssodap xo "y Joy peredoig

aAlye}Uesaidel oye10d.109 Io} sordoy motAel ‘UoIsodep ZurpreSai speul-q

ued premiojy pue
ASayetjs poredeid ‘xog “y jo uonrsodap uopucy roy poredaid ‘s8urpeod pamoracy

uerd premio} pue ASayers peredaid ‘uonisodsap
xoq “Y WO pasnooy ‘s¥urpeayd puke suoneomnurmi0s jo s8ueyoxs paMmolsdy

0@ JaqUIOAON WO XO, "Y Jo uortsodap ojqissod 10} spetoyeul pomaacy

seed 0} uinjar ‘uetd premioy pue AZa}e Is poredaid ‘oq
‘WOYZUIYSeM UI Jodnery 1opessequry Yim Suyoour ur poyediored pue 10; poredaig

aules SUIPIeSal saouerlayuod ‘yedxa [enusjod WIM Joour pur 10} aredoig

ued premioj pue Age}e1s paredaid ‘oq
‘dOSUIYSeAA 0} Map] ‘(Iadnaey Jopessequry) ssaujiIM jA9dxo WLM JIsta 0} poredoig

Zutjooul Jlodxe ZurpieSal soousjszuoo pure spreul-q

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90/ba/1t

90/€8%/11

90/20/11

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ued premioj pue
AZayeTs UO posnosoy ‘yodar ssoujyIM Jaodxe [pamotsor] ‘s8uipead yerp pamaray

ued preaMioy
pue AZayens uo pesnsoy ‘y10da1 ssauytm yrodxa [pamotaar] ‘ssurpeayd pomorasy

AIVAOOSIP pUe Sonsst Jedxa Zurpresas sprewl-q

yrodxa se radnory ‘q sutaoidde yey ‘5 Woy Xe} premio} pue aateoad {yradxo
ue se todnevy ‘q jo jeaoidde BurpreZer Yel “H YM spews pue seo suoqdeay

qusurjredsq 93219 Zurpresal sprew-o ‘yrode1 MoLASy

rodneay ‘q jo Teaordde
SuIpresel woyeuoyur SuQsonber yey “H 0} Joye, pue spews ‘syjeo suoydotay

ued premioy pue AZoyes UO pasnooj ‘yzoder ssaujlM Lodxa [pomotady]

yiodxo ue se AFsS9} 0}
Jednesy Jopessequry jo Aypiqe 8urprese1 Juowjszedag ayeig Jo Ye], “DH YM sou)

ued premio} pue 480}21]s wo pasnoo} ‘y10daI ssoujIM Yadxe [pomaracy]

[eaoidde jo yiodai snjeys Suysanbar
YRL ‘SD WM [eo suoydeya} ‘1odnesy iopessequry Surpregar ueULIEq “y ULM spew

Jedneay "q pue adry ‘4 YIM [[eo aduaraqUuOD

upd premio} pue AdayeI]s Uo pasnso} ‘yiodai ssauyiM Yodxe [MoLAay]

urd premioy pue Adayzeljs poredoid ‘ssutpesyd pamalady

yrodxa

jeyusjod SurpreZe1 yuounredaq 21216 0} Joys] oredoid ‘y10dxe jenusjod pure odry ‘5
‘TOUILSYSTAY] “VV ‘WeULIEG “Y YIM SeolereyUOD [UIA] pue ‘s[leul-a ‘sy[eo suoydaal,
YeL ‘4D 0} AloATop Joy oures srvdoid ‘yey 5 0] 199] Wpa pue sstasdy

ued

premio} pue ASayers poredeid ‘s8urpeetd pomataal ‘AjNs9} 0} soURIee[D rsdnaey
Jopessequry jo Sunueis oy} jo yoddns ul Jens, poyeurmessip pue poredaid

‘suoensel YY Weasel poemoiael ‘sseujim pledxea ue se Afjso} 0} sJsdnery
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uemaq ‘V

TOWBYSPA VW

Weullegd "V

IOUILEYS PI “WV
Ze M
uvulled “V

ueuliag ‘VY

zyey “M

IOWOYSPA “VY

ueulleq ‘Vv

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ueld premioy pue ABayeds UO pesndoj ‘suontsodep Jo} paredolrg
SaNSs! poyeyad puke sy1odo1 j1odxo ozATeur pur MoTAdY

ueld premioj pue ASajyers uo posnooj ‘ssurpeod Mou pematsey
ueld premioj pure ABajens uo pesnooj ‘ssuipeojd Mou pamoatsayy
ued premioj pue Aga}e1]s UO pasnao} pue ssurpeod pamomoy

ued premi0j
pue AZayens uo pasnooy pue wis} TIM sajou posueyoxe ‘sZurpeord pemotacy

SABI] IO} UCTIOUI pure sonsst Wodxa ZurpreZai souepuodsealioo pue syreul-q
uvyd premio; pue AZo] e1Js UO posnooy ‘s8urpeofd pamaraay

ueld premio pue AZa]es Uo pasnoo.y

UeULIA(] “Y 1OJ SJUIUINIOP IO] sop. MITAZY

sansst Jiodxa Jo sisAjeue pure spreul-q

ueld premio} pue AZayeIs UO pasnooy ‘ssurpeold yeap pamaasdy

ued
premio} pue ASayer}s UO posnooy ‘s8urpeofd yerp ‘yode1 ssoujim Wodxe pamaracy

ueld premio} pue Asoyer]s uo pasnooj ‘szurpeatd Yerp pomolsy

ssulpeoyd Uo syusmwW0d pure MatAal {wodal Jiodxe BulpseBZel syrew-q

ued premio} pue AZa}e.1}s WO posnooy ‘szurpeeld erp polips pue pomolroy
ued premioj pue A8o}e13s UO pasnoo} ‘ssurpeeld yep pelips pue pamsisy
sjuaumnoop payeial jo uoronpold pue yiodar Jiedxa Surpiegal sprew-q
AIBAOOSIP IO} JUSUT} eda a}21g YIM souapuodsars09 1oyes)

ued premioy pue A897e1)8
uo pasnooj ‘ods1 ssouyIM Jledxa [pomataal] ‘ssurpesyd pue yusuMOOp pamolssy

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ued premioj pue
ABZayeIys WO pasnooy ‘s8uyeay pue suoyisodep 107 poredaid ‘s8urpeojd pomorasy

altes SUIpARZaI S[reul-a ‘JoreI Aouss1ouls ZuIpreZa1 ssurpes[d MaLAoYy
aules ZuIpeBal speul-s ‘s#urpeald AoueZJetile ozATeue pue Malady

ued
piemioy pue AsajeIjs wo pasnooy ‘suonisodsp 1oj peredeid ‘ssurpesid pamarasy

ued
PpIemMio} pue AZayeIjs WO pssnooj ‘suonisodep 10 peaedeid ‘s8urpestd pamoraoy

sonsst AIOAOOSIP ZUIPALZII WINPULIOWIM PUL ddOUSpUOdsSaII0D MATADY

ued
premioy pue AZayeIJs WO pasndoj ‘suonisodep 10; peredaid ‘s8urpestd pameraoy

ued premio pue AZoje1]s uo posnso} ‘ssurpeald pamoraay
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piemioy pue AZoyeIJs uo pasnooj ‘suontsodep soy peiedaid ‘sfurpestd pamatasy

ued premio} pue ASajer}s UO posnooj ‘sZurpeald pamatasy

ued premio] pue ASayerjs uo pesnooj ‘suontsodap Zurmoodn
Ioy poredeid ‘urea] ULM sUOT}eSIOAUOD puke so]OU posueyoxe ‘sdurpeald pematAey

QUIES MOLAII ‘sBuIpeotd pepuoure pue suonjoul SUIpIeaI s[rewl-7]

ued premio} pue AZoyerys
WO pasnooj Wks} WLM suOTeSIOAMOD puke sajou poZueyoxe ‘ssuTpeojd poemalady

ued preaioj pue AZo}eI]s UO pesnoo] ‘sSurpeod uo poywoululoo puke pamalAdy
wed premio] pue AZajeIjs UO pasnoo} ‘s8urpeatd yep pamoaay
ued premioj pie AayeIjs uo pasnooy ‘s8urpeayd pematady

ued premioj pue ASajzers uo pesnoo} ‘uontsodap 4103 peredoig

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ued premio pue Adoye]s WO posndoj ‘surpes|d pamaracy

ued preaioj pue AZajze1]s UO pasndoy ‘sZurpeold pamsracdy

ued premio} pue AZaze1]s uo pasnaoj ‘ssurpesyd pamesy

ued premio} pue A8ayeI]s UO pesndoj ‘s8urpeed pamatacy

aed premio; pue AZazeIs UO pasnsoj ‘sSurpeojd pamolacy

ueld premicy pue AZale1]s UO pasndo] ‘sjatiq pojips pur pamomoy

weld premio} pue ABa}eT]s WO pasndoj ‘JoLlq Yep pomarasy

ueld premioj pue ASaye1}s uO pasnooj ‘ssurpeald yeip pomarsy

ueld premioj pue Adaje1]s WO pasnooj ‘sSurpeoyd yelp pope pue pomo1ady
ued premio; pue AZa}eYs uo pasnoo} ‘ureze} WIM Sajou pesueyoxy

ued premio}
pue ASayerjs uo pasnooj ‘e_npeyos Suyotiq SurpreSe1 we} yIM sojou sesureyoxy

seyjeq 0} poumyjel ‘oremepaq ‘AoySuIMTL MA Ul sBuLIeey ul poyedorieg

JIBMETAC 0} PIPOaRI}
fuejd premioy pue AZajerjs WO posnooj ‘sSurpeo,d pomotaal ‘s8urreoy I0j poredaig

ued premio pue AZayer}s UO pasnooy ‘ssurpeo[d pomotaai ‘s8uLteay Io0j oredoig

upd premio}
pue AZayeI]s UO pasnooy ‘sZurreoy pue suorisodap 10} poredaad ‘s8urpeatd pamaracy

suorisodap 3uIpiesal spreul-q

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pue ‘jduraju0o ‘uonemsenbes ‘usUIystuIes Joy suOotjOUL ozAjeUe pue MaTAdy

uefd premio} pue AZo}eI]s Uo posnoo] ‘ssurpestd pamataal ‘sZurresy 10} poredsig

ueld premio} pue
ABayes uo pasnooy ‘sZurreay pue suonisodap Joy paiedaid ‘sZurpesjd pomowoy

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Soa} SAOUIO}NL 10} WOTOUL JO} syuournsop Buyz0ddns pur yWAepyye orederg

ME] Seo PUe ssuIpEatd pamalacdy

Soo} SAIUIOYR PUP [SSIUISIP UO pasnd0.j

asvo JO snyeys pue swopour Surpued ZurpreZal s1aMmog ‘f WIM spreury

sag} SAoWIO]]B PUL [BSSIMISIp UO pasno0,{

soaj SAoUI0}}e PUE [VSSIUISTp UO posna0,y

s8urpeoyd yearp Wo payusUIULO. pue pomalAdy

saoy s Aatioye JO ATZAOVAI UO MPT BSED PaMoLADYy

asuodsal 1Jeip pur [essIuIstp Jo uoE[Ndys yerp pamatasy

ued premio} UO pesnoo} ‘jemMeIpyIIM deg-jy Sulpresei xog “yY YIM WOTSsNosiq,
suOTEOT dU perepisuoo ‘femMeIpyyM ded-yJy ZurpreSes adryq “5 ym worssnosiq
WB} YIM SUOISSNOsSTp ‘saay SASUIO]}2 JaAOVaI 0} UOT}OUI UO pesno04

TRS] YIM Sajou pasueyoxa ‘jJorrq A[dai pamatacy

UWIB9] YIM SajOU pesueyoxs {UOTJOUL YeIp O} S}USIMIOS pa} LULUassIp pue poypy
ueld premioj pue AZaze1}s UO paesnoo} ‘sSurpead pue siepi0 ‘Mey ased PamalAdy
ued premio} pue ASoyeI}s Wo posnoo} ‘s8urpesrd pur slapio pemalaady

ueyd premio} pure AZoyeI]s UO pasnooy ‘s8urpeoyd pue steps0 ‘mel aseo pomaraoy
83} YIM So]0U posueyoxe ‘sZurpeetd pue siapio pamalaay

suryd premio} pue AZayeI]s uo pasnooj ‘ssutpeayd pue slapio pamoalacy

sued premio} pue Ada}eI}s uo pasnaoj ‘ssurpeayd puv siapio pamalasy

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EXHIBIT 2
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